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                             Exhibit L
   (previously filed as Dkt. 660-12)
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                                  In the Matter Of:

                                    United States vs
                                          Google




                             MARK ISRAEL, PH.D.
                                   March 14, 2024
CaseUnited States vs
     1:23-cv-00108-LMB-JFA                                                Mark Israel,
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    Google                                             Highly Confidential                                    March 14, 2024
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    · · · · · · · · · · · · · · · · · · · · · · · Page           · · · · · · · · · · · · · · · · · · · · · · · Page
    ·1· · · · · Q.· · ·And how do you determine what ad --       ·1· ·the most important constraints, not skipping over
    ·2· ·what types of advertising should be included in         ·2· ·any to get to more distant constraints.
    ·3· ·the relevant market?                                    ·3· · · · · Q.· · ·And what role, if any, does
    ·4· · · · · A.· · ·Well, the burden, as I understand         ·4· ·substitution in purchases make in helping you
    ·5· ·it, that would be on Plaintiffs' experts would be       ·5· ·determine whether or not the Plaintiffs have
    ·6· ·to show that they include enough to capture             ·6· ·proposed a proper relevant market for this case?
    ·7· ·enough substitution to satisfy a hypothetical           ·7· · · · · A.· · ·I mean, things that are potential
    ·8· ·monopolist test.                                        ·8· ·substitutes for advertisers or for publishers,
    ·9· · · · · · · · ·BY ATTORNEY NAKAMURA:                     ·9· ·probably to some degree for users -- although we
    10· · · · · Q.· · ·And do you agree that the                 10· ·can talk about that more -- are potentially
    11· ·hypothetical monopolist test is the right               11· ·products that should be in the market.· And so if
    12· ·theoretical framework to use in this matter to          12· ·you find that there -- there's evidence of
    13· ·determine the boundaries of a relevant product          13· ·substitution by those -- one of the -- one or
    14· ·market?                                                 14· ·more of those parties and you find that the
    15· · · · · · · · ·ATTORNEY EWALT:· Objection to             15· ·decision whether or not to include that product
    16· · · · ·form.                                             16· ·in your market matters to your conclusions, then
    17· · · · · · · · ·THE WITNESS:· I think it's part           17· ·my opinion is Plaintiffs would need to do the
    18· · · · ·of it.· It's not all of it.· It's -- but          18· ·work to determine whether that product should be
    19· · · · ·it's a piece of how you analyze markets.          19· ·in or out based on the hypothetical monopolist
    20· · · · · · · · ·BY ATTORNEY NAKAMURA:                     20· ·test.· And they have not done that work.
    21· · · · · Q.· · ·And what, then, are the other parts       21· · · · · Q.· · ·And when you say -- I want to --
    22· ·of what you would use to determine the boundaries       22· ·strike that.

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    · · · · · · · · · · · · · · · · · · · · · · · Page           · · · · · · · · · · · · · · · · · · · · · · · Page
    ·1· ·of a relevant product market?                           ·1· · · · · · · · · · ·I want to understand more about
    ·2· · · · · A.· · ·I mean, for me, the overarching           ·2· ·what you mean by "potential substitutes for
    ·3· ·rule of all of it is you define the market that         ·3· ·advertisers" first.
    ·4· ·best captures the competitive alternatives and          ·4· · · · · · · · · · ·Is it the case, in your
    ·5· ·the competitive constraints relative to the             ·5· ·opinion, that any substitution whatsoever, even
    ·6· ·conduct at issue.· The -- so you need a -- a            ·6· ·one unit, would satisfy the criteria for -- for
    ·7· ·market definition that lets you analyze, in this        ·7· ·inclusion in the proper relevant market, in your
    ·8· ·case, what it -- what are the constraints on            ·8· ·opinion?
    ·9· ·Google and the behavior described in the case.          ·9· · · · · · · · ·ATTORNEY EWALT:· Objection to
    10· · · · · · · · ·That's a broad economic framework         10· · · · ·form.
    11· ·but -- but one that I think guides everything.          11· · · · · · · · ·THE WITNESS:· No, I'm not saying
    12· ·Hypothetical monopolist test is, then, a piece.         12· · · · ·any substitution means it's in the
    13· ·Other pieces would include what I've called "the        13· · · · ·market.· I'm saying if there's reasonable
    14· ·circle principle" in other cases, that you don't        14· · · · ·evidence in the record that it is a
    15· ·skip over a closer competition to include more          15· · · · ·substitute, then -- and it matters to
    16· ·distant competition.                                    16· · · · ·your conclusions, then it's Plaintiffs'
    17· · · · · · · · ·It would also -- I think that's --        17· · · · ·job to decide if it's in or it's out.
    18· ·those are the ones I can think of.· There may be        18· · · · ·And they have not done that for a large
    19· ·more.· But I think you -- the key is that it            19· · · · ·number of products for which there is
    20· ·explains competition, and within that, you'd want       20· · · · ·clear evidence in the record of
    21· ·to make sure it satisfies a hypothetical                21· · · · ·substitution.
    22· ·monopolist test and make sure that it includes          22


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    Google                                             Highly Confidential                                    March 14, 2024
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    · · · · · · · · · · · · · · · · · · · · · · · Page           ·1· · · · ·very likely that you would need to
    ·1· · · · · · · · ·BY ATTORNEY NAKAMURA:                     ·2· · · · ·include social media and that you would
    ·2· · · · · Q.· · ·I appreciate your further                 ·3· · · · ·need to include in-app, for example.
    ·3· ·commentary on what you believe Plaintiffs have          ·4· · · · · · · · ·But, again, my main point is that
    ·4· ·done, but that was not my question.· My                 ·5· · · · ·those are strong substitutes, whether you
    ·5· ·question -- well, I guess I'll move to another          ·6· · · · ·include them or not makes a big
    ·6· ·question.                                               ·7· · · · ·difference, and Plaintiffs have done
    ·7· · · · · · · · · · ·My question is, What degree of        ·8· · · · ·nothing to justify leaving them out.
    ·8· ·substitution would be sufficient, in your view,
                                                                 ·9· · · · · · · · ·BY ATTORNEY NAKAMURA:
    ·9· ·by advertisers to lead you to the conclusion that
                                                                 10· · · · · Q.· · ·Do you believe that audio
    10· ·a particular type of advertising should be
                                                                 11· ·advertisements that play on a Web page should
    11· ·included in a relevant proper market in this
                                                                 12· ·have been included in Plaintiffs' market?
    12· ·case?
                                                                 13· · · · · A.· · ·Audio advertisements?· The report
    13· · · · · · · · ·ATTORNEY EWALT:· Objection to
                                                                 14· ·comments on audio particularly, so I don't think
    14· · · · ·form.
                                                                 15· ·I have an opinion one way or the other, not one
    15· · · · · · · · ·THE WITNESS:· I mean, I can't
    16· · · · ·answer these without referring to                 16· ·that I advance.· It's in the category of ones I

    17· · · · ·Plaintiffs because it's -- what I'm               17· ·think should be tested to make sure that you've
    18· · · · ·commenting on is whether Plaintiffs have          18· ·-- the Plaintiffs have included enough, but I --
    19· · · · ·met their burden to define a market.              19· ·I haven't offered an affirmative opinion about
    20· · · · · · · · ·The degree of substitution would          20· ·audio.
    21· · · · ·be to show that one can omit that                 21· · · · · Q.· · ·Do you believe it would have been
    22· · · · ·product -- demonstrate one can omit that          22· ·possible, given the data and documents in this

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    · · · · · · · · · · · · · · · · · · · · · · · Page           ·1· ·case, to have tested for whether audio
    ·1· · · · ·product and still satisfy the                     ·2· ·advertisements could have been properly included
    ·2· · · · ·hypothetical monopolist test and the              ·3· ·in a relevant market in this case?
    ·3· · · · ·circle principle and still adequately             ·4· · · · · · · · ·ATTORNEY EWALT:· Objection to
    ·4· · · · ·capture the set of products that are              ·5· · · · ·form and foundation.
    ·5· · · · ·important competitive constraints on              ·6· · · · · · · · ·THE WITNESS:· I mean, I leave it
    ·6· · · · ·Google.                                           ·7· · · · ·some to Plaintiffs for how they would go
    ·7· · · · · · · · ·BY ATTORNEY NAKAMURA:                     ·8· · · · ·about doing tests they haven't done.
    ·8· · · · · Q.· · ·Are there products for which you
                                                                 ·9· · · · ·But, in general, you -- you -- the
    ·9· ·offer an opinion that you believe that these
                                                                 10· · · · ·hypothetical monopolist test doesn't
    10· ·advertising products should at least be included
                                                                 11· · · · ·require you to have data on every
    11· ·in Plaintiffs' relevant market that are currently
                                                                 12· · · · ·possible product.· It requires you to
    12· ·not part of that market definition?
                                                                 13· · · · ·actually test that the products you've
    13· · · · · · · · ·ATTORNEY EWALT:· Objection to
                                                                 14· · · · ·included are enough.
    14· · · · ·form.
                                                                 15· · · · · · · · ·BY ATTORNEY NAKAMURA:
    15· · · · · · · · ·THE WITNESS:· Again, I -- I
    16· · · · ·haven't gone and done the hypothetical            16· · · · · Q.· · ·At a minimum, how would you

    17· · · · ·monopolist test on each of those because          17· ·describe what the -- what the hypothetical
    18· · · · ·Plaintiffs haven't and I have nothing to          18· ·monopolist test requires with respect to data?
    19· · · · ·respond to.                                       19· · · · · · · · ·ATTORNEY EWALT:· Objection to
    20· · · · · · · · ·I think the report speaks for             20· · · · ·form.
    21· · · · ·itself and will do better than I.· The            21· · · · · · · · ·THE WITNESS:· Oh, I don't -- I
    22· · · · ·report says strongly that I think it's            22· · · · ·don't think there's any specific rule


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    ·1· · · · ·about what data you need that you can --          ·1· ·let me conclude that there could be -- that there
    ·2· · · · ·I mean, there are a variety of ways to do         ·2· ·would be a SSNIP in the absence of these other
    ·3· · · · ·the test: by looking at evidence on               ·3· ·products.
    ·4· · · · ·what's actually happened to prices, by            ·4· · · · · Q.· · ·And let me turn again to one type
    ·5· · · · ·looking on whatever evidence you have of          ·5· ·of advertising that you have said in your reports
    ·6· · · · ·substitution.                                     ·6· ·ought to have been included in Plaintiffs'
    ·7· · · · · · · · ·Economists are certainly in the           ·7· ·market, and let me talk now about search
    ·8· · · · ·business of trying to predict price               ·8· ·advertising.
    ·9· · · · ·effects based on the best data that we            ·9· · · · · · · · · · ·Is it your opinion that search
    10· · · · ·can have.· Hypothetical monopolist test           10· ·advertising should have been included in
    11· · · · ·is basically saying Plaintiffs would need         11· ·Plaintiffs' relevant markets in this case?
    12· · · · ·to do something to show that they have a          12· · · · · · · · ·ATTORNEY EWALT:· Objection to
    13· · · · ·reliable prediction of a price increase           13· · · · ·form.
    14· · · · ·for a hypothetical monopolist of some             14· · · · · · · · ·THE WITNESS:· I mean, I haven't
    15· · · · ·market that they have defined.· And               15· · · · ·done the test in this case for whether
    16· · · · ·Plaintiffs haven't done that.                     16· · · · ·there would be a market around the
    17· · · · · · · · ·BY ATTORNEY NAKAMURA:                     17· · · · ·products here that does or does not
    18· · · · · Q.· · ·And is it your opinion that               18· · · · ·include search.
    19· ·Plaintiffs have done nothing to provide a               19· · · · · · · · ·My opinion, as I've stated
    20· ·reliable prediction of a price increase for             20· · · · ·elsewhere, is that search is a substitute
    21· ·hypothetical market -- for a -- I'm sorry.              21· · · · ·for social, at least, and for parts of
    22· · · · · · · · · · ·Is it your opinion that               22· · · · ·display, so I think the -- the most

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    ·1· ·Plaintiffs' experts have done nothing to show           ·1· · · · ·likely market that I would arrive at
    ·2· ·that there would be a reliable prediction of a          ·2· · · · ·would be -- would include search and
    ·3· ·change in purchases as a result of a price              ·3· · · · ·would include all digital advertising.
    ·4· ·increase?                                               ·4· · · · · · · · ·But as we know about market
    ·5· · · · · · · · ·ATTORNEY EWALT:· Objection to             ·5· · · · ·definition, it's specific to the conduct
    ·6· · · · ·form.                                             ·6· · · · ·in a case and the set of products in the
    ·7· · · · · · · · ·THE WITNESS:· I'm sorry.· I don't         ·7· · · · ·case, and you build out from those
    ·8· · · · ·understand the question.                          ·8· · · · ·products, and I haven't tested here
    ·9· · · · · · · · ·BY ATTORNEY NAKAMURA:                     ·9· · · · ·whether search would need to be in or out
    10· · · · · Q.· · ·Sure.                                     10· · · · ·of the market that applies to this case.
    11· · · · · · · · · · ·What, if anything, have               11· · · · · · · · ·BY ATTORNEY NAKAMURA:
    12· ·Plaintiffs done, in your opinion, that would            12· · · · · Q.· · ·So what is your basis for your
    13· ·satisfy any part of a hypo -- hypothetical              13· ·opinion that search should have been included by
    14· ·monopolist test?                                        14· ·Plaintiffs' experts in the relevant market?
    15· · · · · A.· · ·I mean, I -- I'm happy to look at         15· · · · · · · · ·ATTORNEY EWALT:· Objection to
    16· ·specific things.· As I sit here, I -- I -- I            16· · · · ·form and foundation.
    17· ·can't see anything that they have done to show          17· · · · · · · · ·THE WITNESS:· I mean, search has
    18· ·that, for example, there could be a SSNIP that          18· · · · ·been somewhat less the focus of this case
    19· ·doesn't include in-app or doesn't include social.       19· · · · ·just because the case starts from, you
    20· · · · · · · · ·The specific things you like me to        20· · · · ·know, Google's display advertising and --
    21· ·comment on, the report probably does, and I'm           21· · · · ·and builds out; but, certainly, I've
    22· ·happy to, but I certainly see nothing that would        22· · · · ·testified openly in public that search


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    ·1· · · · ·substitutes with other forms of digital           ·1· ·advertising?
    ·2· · · · ·advertising, so my opinion that --                ·2· · · · · A.· · ·Yeah, I believe so.· There's
    ·3· · · · ·therefore, that leads me to the opinion           ·3· ·bunches of them.· I mean, they're -- they're in
    ·4· · · · ·that it's -- it's an important                    ·4· ·the appendix because they -- in the body.· I work
    ·5· · · · ·substitute.                                       ·5· ·from display to the ones I mentioned, app and
    ·6· · · · · · · · ·Certainly, somebody would have            ·6· ·social.· But I think in multiple paragraphs and
    ·7· · · · ·to -- you know, in proposing a market,            ·7· ·footnotes and then in charts and tables that are
    ·8· · · · ·it's an example of a form of digital              ·8· ·in the appendix to the report, I add search.
    ·9· · · · ·advertising that Plaintiffs, you know,            ·9· · · · · Q.· · ·And you add search for illustrative
    10· · · · ·should have looked at.                            10· ·purposes only; is that correct?
    11· · · · · · · · ·BY ATTORNEY NAKAMURA:                     11· · · · · A.· · ·I mean, I -- I show a variety of
    12· · · · · Q.· · ·So the basis in this case for your        12· ·shares throughout the report to demonstrate the
    13· ·opinion that search advertising is properly             13· ·point I've been making to you, which is that
    14· ·included in Plaintiffs' relevant market is your         14· ·whether or not you include products is
    15· ·open public testimony in another case; is that          15· ·consequential, and Plaintiffs haven't considered
    16· ·correct?                                                16· ·them.· So I include search in the same way I
    17· · · · · · · · ·ATTORNEY EWALT:· Objection to             17· ·include everything, as -- as a calculation of a
    18· · · · ·form.                                             18· ·share for a market that Plaintiffs should have
    19· · · · · · · · ·THE WITNESS:· Again, to be clear,         19· ·considered and did not.
    20· · · · ·I'm not offering an opinion in this case,         20· · · · · Q.· · ·So why, in your opinion, is search
    21· · · · ·and I explicitly said I have not tested           21· ·relevant if you have done no work to show that it
    22· · · · ·whether search needs to be in or any              22· ·is a meaningful substitute -- I'm sorry -- to

                                                      Page 107                                                     Page 109
    ·1· · · · ·specific other form needs to be in. I             ·1· ·show that it is a substitute for display
    ·2· · · · ·said they matter; they're a strong                ·2· ·advertising, as Plaintiffs have defined it?
    ·3· · · · ·substitution; Plaintiffs haven't done the         ·3· · · · · A.· · ·It's a form of digital advertising
    ·4· · · · ·work.                                             ·4· ·that, you know, I have discussed openly, as I
    ·5· · · · · · · · ·So I'm not testifying as my               ·5· ·said, substitutes for at least some other forms
    ·6· · · · ·opinion in this case that you have to             ·6· ·of display advertising.· So I -- I tried to be
    ·7· · · · ·include search.· I'm telling you, based           ·7· ·complete here by including the various forms of
    ·8· · · · ·on what I've said elsewhere, I think              ·8· ·digital advertising.
    ·9· · · · ·search is a substitute for other digital          ·9· · · · · · · · ·Again, I haven't done just -- I
    10· · · · ·advertising, so if you -- if you ask me           10· ·haven't done one that just includes video or just
    11· · · · ·should it be in, it's likely a substitute         11· ·includes direct.· I've tried to say that each of
    12· · · · ·that at least needed to be considered.            12· ·these categories of advertising that Plaintiffs
    13· · · · · · · · ·But I'm not offering an                   13· ·have not shown can be left out matter, and search
    14· · · · ·affirmative opinion in this case,                 14· ·is an example.
    15· · · · ·starting from the products in this case,          15· · · · · Q.· · ·And so I understand that you were
    16· · · · ·that says search does or doesn't need to          16· ·retained by Google as a testifying economic
    17· · · · ·be in this case.                                  17· ·expert in the search litigation that went on in
    18· · · · · · · · ·BY ATTORNEY NAKAMURA:                     18· ·the District of Columbia Federal Court; is that
    19· · · · · Q.· · ·And so in your report, do you have        19· ·correct?
    20· ·any graphs, tables, figures or analyses that            20· · · · · A.· · ·Yes.
    21· ·includes search advertising in the calculation of       21· · · · · Q.· · ·And is all the testimony that you
    22· ·a potential market share that includes search           22· ·provided in that case fully and completely


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    Page    Line      Change                                         Reason
   417     22        “make up the” should be “makeup, the”          Transcription error.
   418     1         “the respondents looks” should be “the         Transcription error
                     respondents, looks”
   420     8         “Demand” should be “demand”                    Transcription error.
   446     13        “features including” should be                 Transcription error.
                     “features—including”
   446     14        “auctions into” should be “auctions—into”      Transcription error.
   453     4         “DFP -- DSPs” should be “DSPs”                 Clarification.
   453     9         “mil” should be “mille”                        Transcription error.

   453     11        “rate. So” should be “rate, so”                Transcription error.

   456     7         “DF360” should be “DV360”                      Transcription error.
   456     18        “DFP360” should be “DV360”                     Transcription error.
   456     21        “advertising Google Ads” should be             Transcription error.
                     “advertising, Google Ads”
   468     17        “ads clients (e.g., agency” should be “Ads     Transcription error.
                     clients (e.g., Agency”
   468     18        “direct advertiser” should be “Direct          Transcription error.
                     Advertiser”
   469     1         “ads” should be “Ads”                          Transcription error.
   470     22        “ads” should be “Ads”                          Transcription error.
   477     12        “a ad server” should be “an ad server”         Clarification.
   482     13        “Demand” should be “demand”                    Transcription error.


    I have inspected and read my deposition and have listed all changes and corrections above, along with my
    reasons therefor.




            4/10/2024
    Date: ________________________________                   Signature: __________________________________
